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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,

                         Plaintiffs,
          v.
                                                  Civil Action No. 25-0946 (CKK)
EXECUTIVE OFFICE OF THE PRESIDENT,
et al.,

                         Defendants.



DEMOCRATIC NATIONAL COMMITTEE,
et al.,

                         Plaintiffs,
          v.
                                                  Civil Action No. 25-0952 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                         Defendants.



LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                         Plaintiffs,
          v.
                                                  Civil Action No. 25-0955 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                         Defendants.

                        LEAGUE 1 AND LULAC 2 PLAINTIFFS’
                      MOTION FOR PRELIMINARY INJUNCTION

1
  Plaintiffs League of Women Voters Education Fund, League of Women Voters of the United
States, League of Women Voters of Arizona, Hispanic Federation, National Association for the
Advancement of Colored People, OCA-Asian Pacific American Advocates, and Asian and Pacific
Islander American Vote.
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  Plaintiffs League of United Latin American Citizens, Secure Families Initiative, and Arizona
Students’ Association.


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       Pursuant to Federal Rule of Civil Procedure 65 and Local Civil Rule 65.1, Plaintiffs League

of Women Voters Education Fund, League of Women Voters of the United States, League of

Women Voters of Arizona, Hispanic Federation, National Association for the Advancement of

Colored People, OCA-Asian Pacific American Advocates, and Asian and Pacific Islander

American Vote (“League Plaintiffs”) and Plaintiffs League of United Latin American Citizens,

Secure Families Initiative, and Arizona Students’ Association (“LULAC Plaintiffs”) respectfully

move for a preliminary injunction against Defendants United States Election Assistance

Commission (“EAC”), Donald L. Palmer (in his official capacity as Chairman and a Commissioner

of the EAC), Thomas Hicks (in his official capacity as Vice Chair and a Commissioner of the

EAC), Christy McCormick and Benjamin W. Hovland (in their official capacities as

Commissioners of the EAC), and Brianna Schletz (in her official capacity as Executive Director

of the EAC) (“Defendants”). League and LULAC Plaintiffs respectfully move to preliminarily

enjoin Defendants EAC, Palmer, Hicks, McCormick, Hovland, and Schletz from implementing

Section 2(a) of President Trump’s March 25, 2025 Executive Order No. 14248.

       As set forth in the accompanying Memorandum in Support of Motion for Preliminary

Injunction, League and LULAC Plaintiffs are entitled to a preliminary injunction because they are

likely to succeed on the merits of their claims, they are suffering and will continue to suffer

irreparable injury in the absence of the requested relief, the balance of equities tips in their favor,

and the issuance of the injunction is in the public interest.
       The grounds for this Motion are fully set forth in the accompanying Memorandum in

Support, and a Proposed Order is attached.

                 STATEMENT PURSUANT TO LOCAL CIVIL RULE 7(m)

       Local Rule 7(m) provides that, “[b]efore filing any nondispositive motion in a civil action,

counsel shall discuss the anticipated motion with opposing counsel in a good-faith effort to

determine whether there is any opposition to the relief sought and, if there is, to narrow the areas

of disagreement.” League and LULAC Plaintiffs have conferred with Defendants about this




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Motion. Defendants oppose the Motion. League and LULAC Plaintiffs have sent Defendants a

copy of this Court’s order (ECF No. 31) setting the briefing schedule for this Motion.


Dated: April 7, 2025                             Respectfully submitted,


                                                /s/ Megan C. Keenan
Wendy R. Weiser*                                Megan C. Keenan (D.C. Bar No. 1672508)
Sean Morales-Doyle*                             Sarah Brannon**** (D.C. Bar No. 90024493)
Eliza Sweren-Becker*                            Adriel I. Cepeda Derieux** (D.C. Bar No.
Jasleen K. Singh*                               90026636)
BRENNAN CENTER FOR JUSTICE AT                   Jacob Van Leer (DC Bar No. 1742196)
NYU SCHOOL OF LAW                               AMERICAN CIVIL LIBERTIES UNION
120 Broadway, Suite 1750                        FOUNDATION
New York, NY 10271                              915 15th St. NW
(646) 292-8310                                  Washington, DC 20001
weiserw@brennan.law.nyu.edu                     (740) 632-0671
morales-doyles@brennan.law.nyu.edu              mkeenan@aclu.org
sweren-beckere@brennan.law.nyu.edu              sbrannon@aclu.org
singhj@brennan.law.nyu.edu                      acepedaderieux@aclu.org
                                                jvanleer@aclu.org
Leah C. Aden**
John S. Cusick**                                Sophia Lin Lakin*
Brenda Wright**                                 Ethan Herenstein*
NAACP LEGAL DEFENSE &                           Jonathan Topaz*
EDUCATIONAL FUND, INC.                          Clayton Pierce*
40 Rector Street, 5th Floor                     Davin Rosborough*
New York, NY 10006                              AMERICAN CIVIL LIBERTIES UNION
(212) 965-2200                                  FOUNDATION
laden@naacpldf.org                              125 Broad St., 18th Floor
jcusick@naacpldf.org                            New York, NY 10004
bwright@naacpldf.org                            (212) 549-2500
                                                slakin@aclu.org
Miranda Galindo**                               eherenstein@aclu.org
Cesar Z. Ruiz**                                 jtopaz@aclu.org
Delmarie Alicea**                               cpierce@aclu.org
LATINO JUSTICE PRLDEF                           drosborough@aclu.org
475 Riverside Drive, Suite 1901
New York, NY 10115                              Michael Perloff (D.C. Bar No. 1601047)
(212) 392-4752                                  Scott Michelman (D.C. Bar No. 1006945)
mgalindo@latinojustice.org                      AMERICAN CIVIL LIBERTIES UNION
                                                FOUNDATION
cruiz@latinojustice.org
                                                OF THE DISTRICT OF COLUMBIA
dalicea@latinojustice.org
                                                529 14th Street NW, Suite 722
                                                Washington, D.C. 20045
                                                (202) 457-0800
                                                mperloff@acludc.org


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                               smichelman@acludc.org

                               Niyati Shah (D.C. Bar No. 1659560)
                               Alizeh Ahmad (D.C. Bar No. 90018919)
                               ASIAN AMERICANS
                               ADVANCING JUSTICE-AAJC
                               1620 L Street, NW, Suite 1050
                               Washington, D.C. 20036
                               (202) 296-2300
                               nshah@advancingjustice-aajc.org
                               aahmad@advancingjustice-aajc.org


                               Counsel for Plaintiffs League of Women Voters
                               Education Fund, League of Women Voters of
                               the United States, League of Women Voters of
                               Arizona, Hispanic Federation, National
                               Association for the Advancement of Colored
                               People, OCA-Asian Pacific American
                               Advocates, and Asian and Pacific Islander
                               American Vote

                               *Admitted pro hac vice
                               **Application for pro hac vice admission
                               forthcoming
                               *** D.D.C. application pending
                               ****Application for D.D.C. admission
                               forthcoming




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 /s/ Norman L. Eisen                                  /s/ Danielle Lang
 Norman L. Eisen (D.C. Bar No. 435051)                Danielle Lang (DC Bar No. 1500218)
 Tianna J. Mays (D.C. Bar No. 90005882)**             Jonathan Diaz (DC Bar No. 1613558)
 Pooja Chaudhuri (D.C. Bar No. 888314523)             Robert Brent Ferguson (DC Bar No. 1782289)***
 STATE DEMOCRACY DEFENDERS FUND                       Anna Baldwin (DC Bar No. 998713)***
 600 Pennsylvania Avenue SE #15180                    Heather Szilagyi (DC Bar No. 90006787)
 Washington, D.C. 20003                               Benjamin Phillips (DC Bar No. 90005450)****
                                                      CAMPAIGN LEGAL CENTER
 (202) 601-8678                                       1101 14th St. NW, Suite 400
 norman@statedemocracydefenders.org                   Washington, D.C. 20005
 tianna@statedemocracydefenders.org                   (202) 736-2200
 pooja@statedemocracydefenders.org                    dlang@campaignlegalcenter.org
                                                      jdiaz@campaignlegalcenter.org
 Counsel for Plaintiffs League of United Latin        bferguson@campaignlegalcenter.org
 American Citizens, Secure Families Initiative,       abaldwin@campaignlegalcenter.org
 and Arizona Students Association                     hszilagyi@campaignlegalcenter.org
                                                      bphillips@campaignlegalcenter.org

 **Application for pro hac vice admission
 forthcoming
 *** D.D.C. application pending
 ****Application for D.D.C. admission
 forthcoming




                                CERTIFICATE OF SERVICE
        I hereby certify that, on April 7, 2025, I served the foregoing Motion for Preliminary
Injunction on the Democratic National Committee Plaintiffs by emailing it to their attorneys, listed
below, who consented to service via email on April 4, 2025:
       Lali Madduri, lmadduri@elias.law
       Aria Branch, abranch@elias.law
       I also certify that I served the foregoing Motion for Preliminary Injunction on all
Defendants in this matter by sending it via certified mail to the addresses listed below, as well as
by emailing it to their attorneys at the email addresses listed below:

       DONALD J. TRUMP, in his official capacity as President of the United States
       The White House
       1600 Pennsylvania Avenue, NW
       Washington, DC 20500

       UNITED STATES ELECTION ASSISTANCE COMMISSION
       633 3rd Street, NW, Suite 200
       Washington, DC 20001




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DONALD L. PALMER, in his official capacity as Chairman and a Commissioner of the
Election Assistance Commission
633 3rd Street, NW, Suite 200
Washington, DC 20001

THOMAS HICKS, in his official capacity as Vice Chair and a Commissioner of the
Election Assistance Commission
633 3rd Street, NW, Suite 200
Washington, DC 20001

CHRISTY MCCORMICK, in her official capacity as a Commissioner of the Election
Assistance Commission
633 3rd Street, NW, Suite 200
Washington, DC 20001

BENJAMIN W. HOVLAND, in his official capacity as a Commissioner of the Election
Assistance Commission
633 3rd Street, NW, Suite 200
Washington, DC 20001

BRIANNA SCHLETZ, in her official capacity as Executive Director of the Election
Assistance Commission
633 3rd Street, NW, Suite 200
Washington, DC 20001

PAMELA J. BONDI, Attorney General of the United States
950 Pennsylvania Avenue, NW
Washington, DC 20530

EDWARD R. MARTIN, JR., Interim U.S. Attorney for the District of Columbia
Civil Process Clerk
U.S. Attorney’s Office for D.C.
601 D Street, NW
Washington, DC 20530
Michael Gates, Michael.Gates2@usdoj.gov
Andrew Darlington, Andrew.Darlington@usdoj.gov


                            /s/ Megan C. Keenan
                            Megan C. Keenan (DC Bar No. 1672508)
                            AMERICAN CIVIL LIBERTIES UNION FOUNDATION
                            915 15th St. NW
                            Washington, DC 20001
                            (740) 632-0671
                            mkeenan@aclu.org




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